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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Norfolk Division


UNITED STATES OF AMERICA

v.                                             CRIMINAL NO. 2:06cr46

TRAVIS SENTEL GRANGER,

           Defendant.


                                  ORDER

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f),

the Court held a hearing on May 5, 2006, on the United States

Government’s motion to detain Defendant.        The Court FINDS that the

following facts mandate Defendant’s detention pending his trial.

     On March 30, 2006, a federal grand jury issued an indictment

charging   Defendant    with   three   (3)   criminal   counts,   including

carjacking, in violation of 18 U.S.C. § 2119; conspiracy to commit

carjacking, in violation of 18 U.S.C. § 371; and brandishing of a

firearm during the commission of a crime of violence, in violation

of 18 U.S.C. § 924(c)(1)(A)(ii).        Defendant having been indicted,

a statutorily-rebuttable presumption in favor of detention applies

in this case because one or more of the charged offenses involves

a firearm charge described under 18 U.S.C. § 924(c).         See 18 U.S.C.

§ 3142(e).

     Both the Government and Defendant, by counsel, proceeded by

proffer of evidence and each offered argument.          The Court, having

taken into consideration the proffers of counsel, the Pretrial
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Services Report, the grand jury indictment of March 30, 2006, and

the statutory presumption in favor of detention,1 FINDS by clear

and   convincing   evidence   that   Defendant    is   a   danger   to   the

community.   The Court further FINDS that there is no condition or

combination of conditions that will reasonably assure the safety of

the community.

      The Court considered the nature and seriousness of the charges

faced by Defendant.      The allegations of Defendant’s misconduct

include the brandishing of a firearm during the commission of a

carjacking, resulting in the abduction of, and injuries to the

vehicle’s occupant, which the Court deems serious. If convicted on

evidence beyond a reasonable doubt at trial, Defendant faces

significant penalties and fines on the various charges, including

as much as five (5) years imprisonment and a fine of $250,000 on

the conspiracy charge (Count 1); fifteen (15) years and a fine of

$250,000 on the carjacking charge (Count 2); and a mandatory

minimum of seven (7) years imprisonment on the brandishing charge

(Count 3).

      The weight of the evidence against Defendant is relatively

strong.   The Government has proffered that it has procured the



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      The Court notes that Defendant did proffer at least some
evidence to rebut the statutory presumption in favor of detention,
but that presumption still remains a factor to be considered by the
Court in evaluating whether Defendant should be detained.       See
United States v. Dillon, 938 F.2d 1412, 1416 (1st Cir. 1991)
(holding that “rebutted presumption retains evidentiary weight”).

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cooperation of Defendant’s co-conspirators who are willing to

testify that on or about May 9, 2004 Defendant was knowingly and

voluntarily involved in a conspiracy to commit carjacking, and that

on or about that date Defendant provided a vehicle, which he drove,

in furtherance of that carjacking, and that he provided a firearm

that was brandished by a co-conspirator during the carjacking. The

Government also proffered that Defendant was involved with the same

co-conspirators in stripping the carjacked vehicle of its contents

and in the continuation of the conspiracy until on or about May 14,

2004    by   facilitating    the    removal   of    the    vehicle    to   another

jurisdiction     by   a    co-conspirator.          Defendant’s      rebuttal    to

Government’s proffered facts and evidence centered on questioning

the    credibility    of   the    Government’s      witnesses,    each     of   whom

arguably has something to gain in exchange for cooperating with the

Government’s investigation.

       The   Court    next       considered   the     personal       history     and

characteristics of Defendant.          Defendant is twenty (20) years old

and appears to be a lifelong resident of Hampton Roads, Virginia

with significant ties to the local area.             Defendant’s work history

is almost nonexistent, and he has no current income source or

assets, as compared to more than two thousand ($2,000) dollars in

court fines for which he is in arrears.                   The Court notes that

Defendant’s mother, Joann Granger Whitaker, with whom he has

resided since 2003, including the time at which he was arrested on


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the   current   charges,    was    willing     to     serve    as   a   third-party

custodian. Given her own criminal record, however, the Court finds

that Ms. Whitaker is not a suitable candidate for third-party

custodianship in this matter.           Nevertheless, the Court does not

find by a preponderance of evidence that Defendant represents a

risk of flight.

      The Court also notes Defendant’s extensive criminal history,

which includes seven (7) misdemeanor convictions, of which five (5)

involve driving on a suspended driver’s license, and there is one

(1) pending misdemeanor charge for possession of marijuana.                       The

Court   is   particularly      concerned       with    the    serial     nature   of

Defendant’s criminal activity, which reflect Defendant’s complete

disregard    for   following      the   law.        This     behavior,    taken    in

conjunction with the severity and inherently-violent nature of the

instant charges, leads the Court to conclude that Defendant would

not likely abide by any terms and conditions that the Court might

fashion to ensure the safety of the community.

      In view of the facts as set forth above, the Court FINDS by

clear and convincing evidence that Defendant represents a danger to

the community.      The Court further FINDS that no condition or

combination of conditions will reasonably assure the safety of the

community.

      The Court, therefore, ORDERS Defendant to be DETAINED pending

his trial.      See 18 U.S.C. § 3142(e) and (f); United States v.


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Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991); United States v.

Araneda, 899 F.2d 368, 370 (5th Cir. 1990); United States v.

Jackson, 823 F.2d 4, 5 (2d Cir. 1987); United States v. Medina, 775

F.2d 1398, 1402 (11th Cir. 1985).

       Consequently, the Court further ORDERS Defendant committed to

the    custody        of     the   Attorney     General    or   his   designated

representative for confinement in a corrections facility separate,

to    the   extent     practicable,     from    persons   awaiting    or   serving

sentences or being held in custody pending appeal. Defendant shall

be afforded a reasonable opportunity for private consultation with

defense counsel.           On order of a court of the United States or on

request of an attorney for the Government, the person in charge of

the corrections facility shall deliver Defendant to the United

States      Marshal    for    an   appearance    in   connection   with    a   court

proceeding.

       The Clerk shall mail or deliver a copy of this order to (i)

the United States Attorney at Norfolk, (ii) the United States

Marshal at Norfolk, (iii) the United States Pretrial Services

Office at Norfolk, and (iv) counsel of record for Defendant.


                                                             /s/
                                                F. Bradford Stillman
                                                United States Magistrate Judge

Norfolk, Virginia

May 5, 2006



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